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FUNDING LTD.

                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION
IN RE:                                       §
ACIS CAPITAL MANAGEMENT, L.P. and            §           Case No. 18-30264-SGJ-11
ACIS CAPITAL MANAGEMENT GP,                  §           Case No. 18-30265-SGJ-11
LLC,                                         §
                                             §           (Jointly Administered Under Case
DEBTORS                                      §           No. 18-30264-SGJ-11)
                                             §
                                             §           Chapter 11

      POST TRIAL BRIEF OF HIGHLAND CLO FUNDING, LTD. (“HCLOF”)
    OPPOSING CONFIRMATION OF THIRD AMENDED JOINT PLAN FOR ACIS
   CAPITAL MANAGEMENT, L.P. AND ACIS CAPITAL MANAGEMENT GP, LLC
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                                             INTRODUCTION1

         The central dispute in this case has existed since 2016, but until these cases were filed,

the fight was (properly) a two party dispute — not involving HCLOF. Since then, however,

HCLOF and its investors, including its new 49% Investor, have suffered severe damage. But it

is collateral and undeserved damage. The legacy of an employment dispute between Joshua

Terry (“Terry”) and Acis is now focused on harming HCLOF’s rights and economic interest —

so that Terry can be paid on a claim that is not, and has never been, against HCLOF. That

should stop now. The Trustee has made repeated suggestions that HCLOF should cough up cash

to solve this problem. But that is simply “stick-up artist” logic: “Hand over your wallet or I will

shoot you.” However, HCLOF is not in a dark alley. It is here, in full view of the law.

                                   HCLOF AND ITS 49% INVESTOR

         The Trustee went out of his way to depose HCLOF’s 49% owner (the “Investor”). That

testimony, however, does not support the Trustee’s theories or his vitriol toward HCLOF. The

Investor’s investment was comprehensively diligenced, negotiated, and documented on the

premise that its investment would be managed by Highland Capital Management, L.P.

(“Highland”). APP. 138–146, 150–155 (Covitz); APP. 344, 352 (9/15/17 Sum. of Terms); APP.

395–403 (HCLOF Off. Mem.); APP. 429, 435–437, (Investor); APP. 455–456 (Scott).2

         The Investor was aware of the infamous “Terry Arbitration” but, appropriately, did not

believe an employment dispute should have any impact on its investment. APP. 431, 433

(Investor). This is perfectly consistent with HCLOF’s position from the very first day its

chairman appeared before this Court, up to now. APP. 274–276, 451–454 (Scott); APP. 424–


1
  HCLOF has focused this closing brief principally on the issues raised by the evidence presented at the
confirmation hearing on December 11–14, and 18. HCLOF incorporates fully the objections and legal arguments
set forth in its initial and supplemental objections found at Docket Nos. 722 and 756 respectively.
2
  Citations to “APP. __” refer to pages of the Joint Appendix filed by the parties opposing confirmation of the plan.
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426 (Bestwick). Indeed, even now the Investor draws no legitimate causal connection between

the Terry litigation, the various alleged fraudulent transfers, and their current plight. APP. 432

(Investor). Simply put, it was not reasonably foreseen, nor should it properly be the case, that a

third party investor would be held hostage by this process.

       Likewise, the Investor — a party whose motivations no one has questioned —

specifically rejected the Trustee’s constant chorus that HCLOF has acted in an economically

irrational manner in opposing Plans A, B, C and D. APP. 436–437 (Investor); see also APP.

122–123 (Greenspan) (“[I]f I was an investor in Acis Loan Funding and a court issued an

injunction saying . . . I can’t exercise my contract . . . I’d be very, very upset and screaming

bloody murder.”). Put simply, HCLOF (and its investors) do not want to sell their property

against their will (Plan A), have the rights granted to them in documents governing their CLO

investments altered without their consent (Plans B, C, and D), or be enjoined for two years or

more from exercising bargained for rights with respect to the CLOs — all while the CLOs are

being managed by a party that (1) is not the party they signed up for, (2) is suing it for tens of

millions of dollars and has otherwise litigated against it for the last 6 months, (3) fired Highland

(the party it signed up for and had diligenced for months), (4) replaced it with an unfamiliar sub-

advisor who either does not want to, or is not being allowed to, operate in a “market” way with

the CLO equity investors (including providing requested information, and generally acting in a

non-adversarial way), (5) is advocating for CLO “resets” that are not possible, and, even if they

were, are not permissible under HCLOF’s governing documents, and (6) is suing to forcibly take

over HCLOF with the stated purpose of disregarding HCLOF’s governing documents and

illegally asserting total control and sole discretion over HCLOF’s investments. APP. 435–436

(Investor); APP. 442–445 (Scott).




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       As the evidence reveals, the Trustee has legal remedies and other options. He is not

entitled to an injunction simply because pursuing the costs and risks of litigation is not “as good

an alternative” as having an injunction that guarantees payment (at HCLOF’s expense). APP. 5–

10, 12–14, 309–311 (Phelan). No litigant would ever deny that an injunction that guarantees a

“win” is the “better option.” But that is not the standard. See Renegotiation Bd. v. Bannercraft

Clothing Co., 415 U.S. 1, 24 (1974) (“Mere litigation expense, even substantial and

unrecoupable cost, does not constitute irreparable injury.”) (citing Myers v. Bethlehem

Shipbuilding Corp., 303 U.S. 41, 51–52, 58 (1938)); Morgan v. Fletcher, 518 F.2d 236, 240 (5th

Cir. 1975) (same). Injunctions, whether “plan” injunctions or Rule 65 litigation injunctions,

should not serve the mere convenience of a litigant. Id.

       If the Trustee proves wrongdoing, he has a remedy. In the meantime, he should not have

a remedy-in-full borne entirely by HCLOF, a party who is 49% owned by an indisputably

independent party, and controlled by directors who have no connection with Highland other than

having been selected as directors for HCLOF.         APP. 421, 423 (Bestwick); APP. 429–430

(Investor); APP. 449 (Scott). The Trustee’s assertion that anyone with “Highland” in its name

should fully fund this estate (an estate whose “tab” has been more than doubled by the Trustee’s

actions) is incorrect, and should be tested through litigation in the adversary proceeding, not

prejudged. Cf. APP. 406 (the Court). The injunction, however, places the full weight of this

estate on HCLOF and moots any litigation on the merits because the estate will be fully funded

at HCLOF’s expense long before litigation concludes. That, simply, is wrong.

                 AS A “PLAN INJUNCTION” THE INJUNCTION FAILS

       The Trustee can point to no precedent where a similar injunction was incorporated into a

confirmed plan of reorganization. Never before has a plan injunction been used to bar a non-

creditor (here HCLOF) from taking actions with respect to its own financial instruments with a


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non-debtor party. And there is no case anywhere to HCLOF’s knowledge that has approved a

plan injunction preventing a non-creditor from exercising rights against a non-debtor party (here,

the CLOs) who is not settling claims and contributing funds in furtherance of the reorganization.

Compare In re Ingersoll, Inc., 562 F.3d 856, 864-65 (7th Cir. 2009) (approving “unique” third

party injunction barring non-creditor claim, but noting that benefitted party provided “valuable

consideration” to unsecured creditors). In addition to recognizing the “valuable consideration”

issue, Ingersoll comes from the Seventh Circuit which, unlike the Fifth Circuit, is receptive to

third party injunctions in “unique” circumstances. See In re Pac. Lumber Co., 584 F.3d 229, 252

(5th Cir. 2009) (noting that other circuits have taken a “more lenient approach” but that “[Fifth

Circuit] cases seem broadly to foreclose non-consensual non-debtor releases and permanent

injunctions.”). This case does not involve any disclosed settlements or compromises or

channeling injunctions as in mass tort cases where courts have been more receptive to allowing

non-debtor releases and permanent injunctions. See In re Pac. Lumber Co., 584 F.3d at 252

(discussing the appropriateness of third-party releases).

       The Injunction does not protect an otherwise viable business. That too is unique in the

context of a plan injunction. The injunction here is not a shield that protects a viable business.

APP. 20–21 (Phelan); APP. 47–48, 55–57, 60–61 (Worman); APP. 76–77 (Terry); APP. at 379–

388 (Discl. Stmt.). It is a sword, without which no business would exist. APP. 28 (Phelan);

APP. 70–72 (Terry). The only “customer” of Acis who was given the choice to stay or go, has

chosen to go. APP. 29 (Phelan). Moreover, the injunction is not even designed to protect a

viable business — by its terms it stays in place only until creditors are paid in full. APP. 391

(Plan). That is clear from the terms of the Plan and from the testimony of the Trustee and Terry,

the Plan’s primary beneficiary. The Trustee freely admits this is “all about money.” APP. 9–10,




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312–313 (Phelan). Terry testified that he just wants to get paid. That is why he preferred Plan A

to Plans B and C in the previous confirmation hearing. APP. 66–67 (Terry). The very idea that

Terry, who has been out of the CLO market for two and a half years, and who has detonated a

bankruptcy litigation bomb over the investors of the CLOs he now wants to forcibly “manage,”

can rebuild a CLO management business, is at best speculative and naïve. APP. 156–157

(Covitz); APP. 162–166 (Castro). But the “business” is not the point — and never has been.

The only point is to pay creditors at the expense of HCLOF and its investors.

                THE INJUNCTION IS NOT OTHERWISE SUSTAINABLE

       As a “litigation”-based injunction under FRBP 7065, the proposed Plan D Injunction also

fails. The litigation claim that purportedly supports the requested injunction is the alleged

fraudulent transfer of the 2016 “ALF PMA.” The entire premise of this injunction is that if Acis

can get its “rights” back under the ALF PMA, it can call all the shots and “control its own

destiny.” Thus, so the theory goes, the injunction should freeze any action pending a

determination of whether Acis can get its “rights” back. Indeed, those same alleged “rights” are

the very basis for the “value” that Acis alleges was fraudulently transferred away from Acis in

2017. APP. 82–83, 322 (R. Klein); APP. 414–415 (Trustee’s Countercl.); APP. 465 (Haggard

Rep.) at 7. Now, however, the evidence is overwhelming that this fundamental premise of both

the underlying fraudulent transfer claim and the requested injunction — i.e., that Acis had, and

will regain, unfettered rights to do whatever it wants under the ALF PMA — is false.

       The terms of the ALF PMA are clear, and they dispel the Trustee’s argument. APP. 250–

253 (ALF PMA); APP. 326–328 (Castro). The analysis can and should end here. See Great Am.

Ins. Co. v. Primo, 512 S.W.3d 890, 893 (Tex. 2017) (holding that “[a] contract’s plain language

controls”). The additional confirmatory evidence, however, is plentiful and compelling.




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        Expert witnesses for both HCLOF and the Trustee agree that the Trustee’s interpretation

(contrary on its face to the plain language) would violate Guernsey law.                          APP. 210–211

(Corfield); APP. 215 (McGuffin); APP. 375–377 (Corfield Suppl. Aff.); see also APP. 250 (ALF

PMA). No one disputes that the Directors of HCLOF cannot abdicate their authority. That, too,

should end the inquiry. But there is more.

        Both the parties to the ALF PMA confirm they did NOT intend for Acis to have

unfettered authority or the ability to take actions contrary to the instructions of HCLOF. APP.

158–159, 331 (Covitz); APP. 419–420 (Bestwick); APP. 440–442 (Scott). More still, the very

conduct of the parties to the ALF PMA is inconsistent with the Trustee’s notion that Acis can do

whatever it wants and does not need to follow HCLOF’s instructions. Permission (at least for

transformative issues such as refinancings, redemptions, and resets) was in fact sought during the

tenure of the ALF PMA. E.g., APP. 300 (3/4/17 email); APP. 301 (9/13/17 email). The “reset”

transactions stymied by the bankruptcy were fully briefed to the directors, and the directors were

fully supportive, before the redemption notices were sent. APP. 294 (10/6/17 notice); APP. 303

(10/6/17 ALF Board Mins.); APP. 416 (10/6/17 email);3 APP. 441–442 (Scott).

        Finally, the Trustee fails to reckon with the fact that both sets of optional redemption

notices issued in April and June were executed not by the portfolio manager, but by HCLOF

itself through its directors. APP. 254–260 (4/30/18 notices); APP. 261–272 (6/15/18 notices).

HCLOF, of course, could send similar notices regardless of the identity of its portfolio manager.

The Trustee offers no explanation or evidence for how this problem is “solved” in Acis’s favor,

even if Acis could ever be reinstated.



3
 Notably, the email requesting internal permission at Highland to proceed with this reset was sent nearly eight hours
after HCLOF’s approval had already been secured. Compare APP. 303 (10/6/17 ALF Board Mins.) with APP. 416
(10/6/17 email).


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        In the face of this mountain of contrary evidence, the Trustee is left merely with the

 naked assertion that if the ALF PMA were reinstated — as discussed further below, an at-best

 dubious proposition — Acis could do what it wanted, even in express disregard of HCLOF’s

 instructions. Legally and factually, that proposition is false. Notably, the Trustee designated two

 experts on this issue. Neither testified. Another Trustee witness, Richard Klein, was at best

 equivocal, on this issue when he testified in August. APP. 316–320, 322–323 (R. Klein). On the

 other hand, Dan Castro and Ronald Greenspan both reject the Trustee’s reading of the ALF

 PMA. APP. 88–89, 116–119, 123–124 (Greenspan); APP. 193–194, 326–328 (Castro). In fact,

 no knowledgeable witness has ever specifically described Acis’s rights as “unfettered.”

        The Trustee instead will likely argue only that HCLOF must in fact have no independent

 rights because the HCLOF directors have, up to now, never outright disagreed with Highland’s

 recommendations. Of course, the Trustee ignores HCLOF’s testimony that it has probed and

 tested Highland’s recommendations.       APP. 422 (Bestwick); APP. 450 (Scott).        That these

 discussions have never resulted in an impasse should not be surprising. HCLOF’s investors

 bargained for Highland’s management services and took specific measures to ensure economic

 alliance (“skin in the game”) and key Highland personnel retention. APP. 138–146, 150–155

 (Covitz); APP. 344, 352 (9/15/17 Sum. of Terms); APP. 395–403 (HCLOF Off. Mem.); APP.

 429, 435–437, (Investor); APP. 455–456 (Scott). Put simply, Highland is the party the investors

 signed up for and has been acting consistently with HCLOF’s mandates and its investors’ goals.

 APP. 220–223 (Covitz); see also APP. 169–173 (Castro). That would change dramatically if a

 Terry or Trustee-led Acis were forced into Highland’s role as a fiduciary to HCLOF. The entire

 history of this case makes clear that forcing a Trustee or Terry-led Acis into the role of HCLOF’s

 fiduciary (as its direct portfolio manager) would be putting the Fox into the Henhouse. HCLOF




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 and its 49% Investor are lock-step in their “extreme concern” over that proposition. APP. 435–

 436 (Investor); APP. 445 (Scott).

        HCLOF and Acis have agreed on virtually nothing since the case began, and Acis has

 gone out of its way to be hostile to HCLOF’s interests, as noted above. As a further example,

 Acis has not allowed Brigade to engage with HCLOF in a “market” way — even Brigade

 confirms this. APP. 58–60, 62–65 (Worman); APP. 132–136 (Covitz); APP. 195–196 (Castro);

 APP. 239–240 (Terry); APP. 298–299 (9/18/18 email). Moreover, the very heart of Acis’

 argument — that if it becomes HCLOF’s portfolio manager it could compel a reset on terms that

 HCLOF does not approve, or refuse an optional redemption that HCLOF seeks — is itself a

 declaration of war against HCLOF. And war it would be. Consequently, HCLOF’s positive

 working relationship with Highland to date has no bearing on the legal authority it retains over

 its portfolio manager. It simply reflects that HCLOF and its portfolio manager are aligned and in

 agreement. That would all change in a “Fox in the Henhouse” world.

        For those same reasons, it is not plausible to assume that Acis could ever be legally

 reinstated as HCLOF’s portfolio manager. The Guernsey law experts agree, and there is no

 dispute, that the Guernsey Financial Services Commission is active and robust and will consider

 the views of all stakeholders. APP. 203–206 (Corfield); APP. 215–217 (McGuffin); APP. 357–

 362, 365–373 (Corfield Aff.); APP. 462–463 (McGuffin Rep.). While the Trustee’s expert

 opines it is premature to predict the result of this robust regulatory scrutiny, he offers no opinion

 that a Terry-led Acis would in fact ever be approved as a fiduciary of HCLOF. It is

 inconceivable that the Guernsey regulators will allow a hostile party with rampant conflicts, not

 of the investors’ choosing, one fiercely opposed by the fund’s directors, and one who

 affirmatively interprets its proposed portfolio management agreement (the ALF PMA) in a way




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 that violates Guernsey law, to serve as HCLOF’s fiduciary. APP. 197–198 (Corfield); APP.

 358–359 (Corfield Aff.); APP. 445 (Scott).

        Finally, in a world where HCLOF will not — indeed, by law cannot — voluntarily accept

 a hostile party as its fiduciary / portfolio manager, it is difficult to conceive how Acis will not

 need to seek assistance from the Guernsey courts to actually attempt to exercise rights —

 particularly when its interpretation of its purported “rights” indisputably violates Guernsey law.

 As noted in Tim Corfield’s expert report, that help is not available as specific performance has

 never been recognized in Guernsey, and foreign judgments need to be for money damages, in a

 sum certain, to be enforced in Guernsey. APP. 198–203, 207–209, 211 (Corfield); APP. 356–

 357, 362–364a (Corfield Aff.). The Trustee’s expert offered only that Guernsey assistance might

 be available. APP. 212–214 (McGuffin); APP. 458–461 (McGuffin Rep.).

        For all these reasons, the foundation for the Trustee’s injunction is false. The ALF PMA

 was never a “golden ticket” permitting it to do whatever it wants over the objection of the

 company it serves. Even if it could prove anything of value was fraudulently transferred, it will

 be entitled to damages and nothing more. An injunction is therefore inappropriate as a matter of

 law. See In re Atlas Fin. Mortg. Inc., 2014 WL 172283, *3 (Bankr. N.D. Tex. Jan. 14, 2014)

 (“[T]he general equitable powers of the federal courts do not include the authority to issue

 preliminary injunctions in actions solely at law.”) (citing Grupo Mexicano de Dessarrollo S.A. v.

 Alliance Bond Fund, Inc., 527 U.S. 308, 310 (1999)); Dong v. Miller, 2018 WL 1445573, at *8–

 10 (E.D.N.Y. Mar. 23, 2018) (noting it is “not true that the Grupo Mexicano rule falls away once

 a plaintiff asserts any claim for equitable relief” and conducting claim-by-claim analysis).

 Accordingly, the Plan and injunction should be denied.




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          Even if the Court were to proceed to the standard four factor test, the injunction

 nonetheless fails as a result of much of the evidence noted above, and as further set forth below.

          Substantial Likelihood of Success is Lacking

          As noted, the fact that the ALF PMA is not the golden ticket Acis wants and needs it to

 be is a fundamental problem for the Trustee on many levels. The Trustee’s “value” transfer

 proposition is now missing. The ALF PMA generated no fees — only obligations to perform.

 Acis’ fees, if any, come from Acis’ management of the CLOs. HCLOF certainly has rights that

 may impact Acis’ CLO fee income, but, as noted above, the ALF PMA does not put Acis’ fate in

 its own hands. Thus, where is the value transfer? What did Acis lose? On this record, it lost

 nothing.4 APP. 88–91, 116–121, 123–124 (Greenspan); APP. 193–194, 326–328 (Castro); see

 also In re Worldwide Diamond Ventures, LP, 559 B.R. 143, 150 (Bankr. N.D. Tex. 2016) (“The

 salient issue [for a fraudulent transfer claim] is whether the estate lost value.”).

          The Court has now also heard extensive testimony from Ronald Greenspan, a leading

 solvency and fraudulent transfer expert, concerning the infirmities of the Trustee’s solvency

 analysis, and the absence, in fact, of a “transfer.” APP. 84–115 (Greenspan). Further, the

 evidence demonstrates that the efforts to find another investor, the negotiations with the Investor

 (including the “skin in the game” and “key man” issues noted above), the focus and strategy of

 resetting the aging CLOs (which was being undertaken market-wide), and the considerations

 regarding risk retention structures and capitalization all occurred independent of and prior to

 Terry’s arbitration award. The Trustee and Terry self-centeredly maintain this award was the

 cause of everything. The time line proves otherwise. APP. 138–146, 223–238 (Covitz); APP.

 4
  Note also that even the purported “value” of the ALF PMA, $3,669,935, as opined by the Trustee’s expert (Exh.
 777 (Haggard Expert Rep.) at 14), has already been delivered to Acis as a result of the injunction, in the form of the
 substantial net fee income that has already accrued. See Monthly Operating Report for Acis LP (Nov. 1–30, 2018),
 ECF No. 809 (showing total receipts by Acis LP since August 2018 in excess of $10 million, and cash on hand of
 $7.9 million — more than double the purported lost “value” of the ALF PMA).


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 243–248 (Terry); APP. 341–352 (9/15/17 Sum. of Terms); APP. 404 (SEC No Action Letter);

 APP. 428–429 (Investor).

        The Court did not have the benefit of the existing evidentiary record in its prior hearings.

 The difference makes a difference. On this record, the likelihood of success of an ALF PMA

 fraudulent transfer claim is not substantial. It is at best highly speculative — and therefore

 cannot support an injunction. See Aon Re, Inc. v. TIG Ins. Co., 2009 WL 3075584, at *4 (N.D.

 Tex. Sept. 28, 2009) (“[S]peculation or the mere risk of irreparable harm is not a sufficient

 showing of irreparable harm.” (internal citation omitted)); Hunt v. Bankers Tr. Co., 646 F. Supp.

 59, 65 (N.D. Tex. 1986) (same).

        An Adequate Remedy at Law Exists / No Irreparable Harm

        The existing evidentiary record also confirms that, if the Trustee’s claims have any merit

 at all, he has an adequate remedy at law. HCLOF has $135 million in net assets. APP. 393

 (Stmt. of Fin. Position); APP. 448 (Scott). Guernsey law will recognize and enforce an order for

 money damages. APP. 211 (Corfield). The Trustee does not deny this — he simply does not

 prefer it to a guaranteed “win” through an injunction. APP. 5–6, 9–10 (Phelan). Terry, the

 presumptive owner of Acis if the plan is confirmed, was noncommittal on whether the litigation

 will even be pursued at all to final judgment. Instead, he hopes to use the pending injunction as

 settlement leverage. APP. 73–74 (Terry). Again, as noted, the evidence demonstrates that a

 return of the ALF PMA is not a golden ticket allowing it to “control its own destiny.” If Acis is

 entitled to anything, ever, it will be money. Acis not only has an adequate remedy at law — that

 is its only remedy that is available.

        The Balance of Harms Favors HCLOF

        The Trustee has a legal remedy — he need only prove the claims upon which he

 presumably bases all of his vitriol against HCLOF. HCLOF, per the Court’s prior ruling, has no


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 remedy against Acis. The “offer” of a potential reset is illusory. The Trustee has taken no steps

 to substantiate his mere “wishful thinking” that a reset can be accomplished, and the only expert

 to testify on the issue concludes that a favorable reset cannot be achieved. APP. 27–28 (Phelan);

 APP. 58–65 (Worman); APP. 162–169, 195–196 (Castro); APP. 239–240 (Terry); see also APP.

 132–136, 156–157, 330, 332–336 (Covitz). More important, a reset with Brigade violates the

 Investment Policy — HCLOF cannot approve it. APP. 219–220 (Covitz); APP. 398 (HCLOF

 Off. Mem.); APP. 455–456 (Scott). No witness rebuts that fact. The Trustee caused this

 problem. If he wanted to make progress, he could start by reinstating Highland.

        The injunction is almost certain to last for three years, or more — thus, there is nothing

 “temporary” about this proposed injunction. Given the reinvestment periods for these CLOs will

 terminate in 2019, the prospect that the CLOs will be viable in two or three years is beyond dim.

 See APP. 79, 241 (Terry). The decay and demise of Acis 2013-1 is illustrative. APP. 46

 (Worman); APP. 409, 468–469 (Phelan). Accordingly, the injunction is effectively permanent,

 disabling, and punitive to HCLOF and its investors.

        Further, as Plan D provides, and the Trustee verified, Terry will have virtually unfettered

 authority on whether and when to pay claims. He can, therefore, stockpile revenue to fund

 litigation reserves or Acis’ operating expenses (amounts of which are left again to his sole

 discretion). APP. 22–25 (Phelan). The plan projections and payment schedules are, therefore,

 hypothetical and meaningless. As such, HCLOF will shoulder this entire estate for years on end

 — all because Acis (as would any litigant) “prefers” not to be exposed to the time, cost and risk

 of actually litigating its claims. This unfairness is coupled with the fact that the Trustee’s own

 conduct (to which HCLOF strenuously objected) saddled the estate with more than $5 million in




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 undeserved and unwarranted administrative expenses — all of which the Trustee seeks to pile

 onto HCLOF’s “fund the whole case” tab.

        While there is competing “opinion” testimony on whether Highland or Brigade was / is

 doing the better or more appropriate job, the objective facts are clear: Since Highland was

 replaced, (1) the CLOs have declined in value (over $10 million in losses from post-Highland

 trades); (2) they have, for the first time ever, failed interest coverage tests (and thus failed to pay

 even certain senior notes); (3) for the first time ever, none of the Acis CLOs made any payments

 to equity note holders; and (4) indenture-violating trades have been made on multiple occasions

 (perhaps because the portfolio manager admittedly has not fully reviewed the Indentures). APP.

 17–19 (Phelan); APP. 49–54 (Worman); APP. 129–132 (Covitz); APP. 179–193 (Castro).

 HCLOF is displeased, as is the Investor. APP. 434, 437–438 (Investor); APP. 442–443, 446–447

 (Scott). In particular, both HCLOF and the Investor are displeased that Acis has not applied cash

 to pay down the senior notes. Id. If they had done so, some of the poor results noted above

 would have been mitigated.        APP. 126–132, 137–138 (Covitz); APP. 174–178, 186–188

 (Castro). In the “real world” HCLOF would have the leverage to protect its interests. Under the

 injunction, HCLOF is powerless and left to suffer the harm. APP. 156–157, 160 (Covitz); APP.

 167–169, 178, 195–196 (Castro). The harm has been, is, and will continue to be, substantial —

 particularly as these CLOs age-out even further. APP. 147–149 (Covitz); APP. 280–282, 285–

 286, 289 (F. Saah); APP. 446–447 (Scott).

        The Trustee’s suggestion that HCLOF, if it doesn’t like it, can just go sell its equity

 notes, is another departure from reality. The Trustee admits the injunction attaches to HCLOF’s

 notes. Incredibly, he denies this circumstance impairs the value of those notes. APP. 22–23

 (Phelan). Contrary expert opinion is unrebutted on this issue. APP. 178–179 (Castro).




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        A Continued Injunction Frustrates Rather Than Furthers Public Policy

        Public policy cannot favor the frustration of securities contracts held by third party

 investors — least of all just so that bankrupt investment advisers can pay their debts. APP. 178,

 325–326 (Castro). The Trustee’s only argument to the contrary is premised on his presumption

 that HCLOF is a party to wrongdoing and deserves this treatment. But on that score, public

 policy also strongly favors that disputes be resolved on their merits. E.g., Beitel v. OCA, Inc. (In

 re OCA, Inc.), 551 F.3d 359, 374 (5th Cir. 2008) (noting public policy favors deciding cases on

 the merits); Crane v. Napolitano, 2013 WL 12100740, at *1 (N.D. Tex. Mar. 15, 2013) (same).

 The Trustee, instead, prefers an injunction that delivers a “victory” regardless of whether he

 proves, or even finally litigates, those allegations. APP. 5–6 (Phelan). The Trustee’s “two

 wrongs make a right” premise is improper — particularly when he merely assumes (wrongly)

 that HCLOF has done anything wrong.

                                          CONCLUSION

        WHEREFORE, HCLOF respectfully requests that the Court deny confirmation of Plan

 D and grant such further relief as is appropriate.

 Dated: December 31, 2018                             Respectfully submitted,

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